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                  Exhibit J
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND


    PFLAG, INC.; et al.,

            Plaintiffs,

    v.                                                  Civil Action No.

    DONALD J. TRUMP, in his official capacity
    as President of the United States; et al.,

            Defendants.



                              DECLARATION OF LAWRENCE LOE

I, Lawrence Loe, 1 pursuant to 28 U.S.C. § 1746, declare as follows:

          1.      My name is Lawrence Loe. I am a Plaintiff in this action. I offer this Declaration in

support of Plaintiffs’ Motion for a Temporary Restraining Order. I am over 18 years old, have

personal knowledge of the facts set forth in this Declaration, and would testify competently to

those facts if called as a witness.

          2.      I am 18 years old and a high school student in New York City, where I live with

my father.

          3.      I am a member of PFLAG.

          4.      I am transgender. I was assigned a female sex at birth. When puberty started, I knew

it was incredibly wrong for me. I started to have very strong feelings that this was not right. As I

explored my feelings more, I eventually realized that I was transgender. When I was 12, I first




1
 Lawrence Loe is a pseudonym. I am proceeding under a pseudonym to protect my right to privacy
and myself from discrimination, harassment, and violence, as well as retaliation for seeking to
protect my rights.
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came out to my best friend, and started dropping hints to my father to make sure that he would

accept me as transgender.

         5.    When I was about 13, I began to see a therapist for support navigating these feelings.

I have since received a formal diagnosis of gender dysphoria.

         6.    When I was 13, I started a medication to suppress menstruation. I had a consult

with a doctor for puberty blockers, but because my parents could not agree, I did not receive them.

In consultation with my doctors and my family, I started testosterone when I was 16, in August of

2023.

         7.    Testosterone has had a drastic positive effect on my mental health and well-being.

Before starting testosterone, I was experiencing significant mental health issues for a period of a

few months due to gender dysphoria, and one of the ways that I made it through that moment in

my life was by looking forward to a future where I could medically transition. Once I finally started

testosterone, and especially when I had my consultation for chest masculinization surgery, my

mental health improved significantly, and I was able to put this moment of my life behind me.

         8.    I have been looking forward to obtaining chest masculinization surgery for six years.

It took a long time to get an appointment, and in order to start the process, I obtained a letter of

support signed both by my longtime therapist and by another mental health professional, and a

separate letter from my doctor. Eventually, I received a surgery date for the first week in February,

at NYU Langone.

         9.    I made arrangements and underwent pre-operative blood testing. My grandmother,

who lives on a fixed income, booked a flight to come and help take care of me. I attended a pre-

operative appointment in mid-January. I have organized my entire year around being able to get

this surgery. I spent a lot of money purchasing recovery supplies. I made summer plans based on



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thinking I would have recovered already. I also wanted to get surgery early this year in case I want

to go abroad next year.

       10.     I have been counting down the days to my surgery. Just knowing that I had my

surgery scheduled has made it easier to manage my gender dysphoria. Trying to flatten my chest

is physically painful and hard on my skin. I was excited to wear white t-shirts, go swimming and

running, and live my life normally starting this summer.

       11.     On January 28, 2025, the White House issued an Executive Order entitled

“Protecting Children from Chemical and Surgical Mutilation” (“Executive Order”). I had a panic

attack that my surgery would be cancelled, but everyone told me that I shouldn’t worry because

nothing could change in the next week.

       12.     On January 29, 2025, I received a call from the Nurse Practitioner at NYU Langone

with whom I had been working informing me that they have had to cancel my surgery the following

week due to the Executive Order. They told me that I could not schedule a surgery date with them

until I turned 19. I will have to redo all of my letters before then because my understanding is that

they need to be dated within a year of my surgery date. I am also worried that, by the time I turn

19, another Executive Order might raise the age again.

       13.     I am devastated at the thought that this medical care that I have been looking

forward to and working toward for so long could be pulled away from me.

       14.     I am 18 years old—I am an adult. I scheduled my surgery date for after I turned 18

in part to avoid potential restrictions on gender-affirming medical care for minors. I am angry and

saddened that something like this could happen to me as an adult.




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